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 6                       UNITED STATES DISTRICT COURT
 7                   IN AND FOR THE DISTRICT OF ARIZONA
 8
 9   UNITED STATES OF AMERICA,       )             Case No.: 06-3117M
                                     )
10                   Plaintiff,      )
                                     )
11        -vs-                       )             ORDER
                                     )
12   JESUS ACOSTA BARRAZA            )
                                     )
13                   Defendant.      )
     ________________________________)
14
15        Upon motion of defendant Jesus Acosta Barraza, and good cause shown,
16        IT IS HEREBY ORDERED,
17        1.    Substituting Bernardo M. Garcia for Brandon Cotto for all further proceedings
18              in this matter; and
19        2.    Allowing Brandon Cotto to withdraw as counsel of record in the above
20              referenced matter.
21        DATED this 13th day of April, 2006.
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